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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )            8:07CR72
                      Plaintiff,              )
                                              )
       vs.                                    )              ORDER
                                              )
MIGUEL BAUTISTA,                              )
                                              )
                      Defendant.              )

       At the initial appearance of the defendant on the charges contained in the indictment on
file, the United States moved to detain the defendant without bail pending trial on the basis that
he was a flight risk and a danger to the community. At the time of his initial appearance before
the court, the defendant was in the custody of Nebraska state authorities on state charges.
Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Miguel Bautista pursuant to the Bail Reform
Act is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Miguel Bautista, having received notice of his return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an
opportunity for hearing in this matter pursuant to the Interstate Agreement on Detainers, 18
U.S.C. app § 9(2), the U.S. Marshal is authorized to return the defendant, Miguel Bautista, to
the custody of Nebraska state authorities pending the final disposition of this matter and the U.S.
Marshal for the District of Nebraska is directed to place a detainer with the correctional officer
having custody of the defendant.
       DATED this 2nd day of March, 2007.
                                                     BY THE COURT:
                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
